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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

SHARON ACREE,

       Plaintiff,

v.                                                         Case No: 8:18-cv-2010-T-30JSS

EF EDUCATION FIRST, INC. and
GO AHEAD VACATIONS, INC.,

       Defendants.


                                 ORDER OF DISMISSAL

       Before the Court is the Joint Stipulation of Dismissal (Dkt. 16). Upon review and

consideration, it is

       ORDERED AND ADJUDGED as follows:

       1.      This cause is dismissed without prejudice, each party to bear their own

attorneys’ fees and costs.

       2.      All pending motions, if any, are denied as moot.

       3.      The Clerk is directed to close this case.

       DONE and ORDERED in Tampa, Florida, this 21st day of November, 2018.




Copies furnished to:
Counsel/Parties of Record
